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 8                    IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                 WESTERN DIVISION
11   STEPHEN H. BAFFORD and LAURA )
     BAFFORD,                         ) Case No.
12                                    )
                      Plaintiffs,     )
13                                    )
          vs.                         ) COMPLAINT FOR VIOLATIONS
14                                    ) OF ERISA AND STATE LAW
                                      )
15   NORTHROP GRUMMAN                 ) JURY TRIAL DEMANDED AS
     CORPORATION, ADMINISTRATIVE ) TO STATE-LAW CLAIMS
16   COMMITTEE OF THE NORTHROP )
     GRUMMAN PENSION PLAN, and        )
17   ALIGHT SOLUTIONS LLC (formerly )
     known as Hewitt Associates LLC), )
18                                    )
                      Defendants.     )
19                                    )
20                                    JURISDICTION
21         1.     This Court has subject matter jurisdiction over Plaintiffs’ federal
22   claims pursuant to 28 U.S.C. § 1331 and the specific jurisdictional statute for
23   claims brought pursuant to the Employee Retirement Income Security Act of
24   1974 (“ERISA”), ERISA § 502(e) and (f), 29 U.S.C. § 1132(e) and (f). As to the
25   state-law claims, this Court has supplemental subject matter jurisdiction pursuant
26   to 28 U.S.C. § 1367(a) because the state-law claims form part of the same case or
27   controversy. In addition, as to the state-law claims, this Court has subject matter
28   jurisdiction pursuant to 28 U.S.C. § 1332 because the matter in controversy
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 1   exceeds the sum or value of $75,000, exclusive of interest and costs, and is
 2   between citizens of different states.
 3                                           VENUE
 4         2.     Venue lies in the Central District of California pursuant to ERISA §
 5   502(e)(2), 29 U.S.C. § 1132(e)(2), because the Northrop Grumman Pension Plan
 6   (“the Northrop Plan”) is administered in this District and Defendants Northrop
 7   Grumman Corporation (“Northrop”), Administrative Committee of the Northrop
 8   Grumman Pension Plan (“Administrative Committee”), and Alight Solutions LLC
 9   (“Alight”) may be found in this District.
10                          INTRADISTRICT ASSIGNMENT
11         3.     Pursuant to General Order 16-05, Section I.B.1.a.(1)(c), this case
12   should be assigned to the Western Division.
13                             NATURE OF THE DISPUTE
14         4.     Plaintiffs Stephen Bafford and Laura Bafford bring this suit to
15   remedy harm that they suffered when the Northrop Plan reduced their monthly
16   pension benefit due to errors in Defendants’ calculations of their benefit. The
17   Baffords relied on the erroneous calculations in planning for their retirement and
18   in deciding that Mr. Bafford would retire from his employment with Northrop in
19   2016 and commence receiving his pension under the Northrop Plan.
20         5.     For more than six years, Defendants issued Mr. Bafford pension
21   benefit statements showing that if he worked to at least age 55 and elected a 100
22   percent joint-and-survivor annuity form of benefit, the Northrop Plan would pay
23   over $2,000 per month for Mr. Bafford’s lifetime and the same amount for Mrs.
24   Bafford’s lifetime if he predeceased her. After Mr. Bafford retired at age 56 and
25   commenced receiving his pension, Defendants notified him that they had
26   provided the wrong figure in all the statements and in his pension election
27   paperwork, and that his actual Northrop Plan benefit was only $807.79 per
28   month.

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 1                               The Parties and the Plan
 2           6.   At all relevant times, Plaintiff Stephen Bafford has been a
 3   participant, as defined by ERISA § 3(7), 29 U.S.C. § 1002(7), in the Northrop
 4   Plan, and Plaintiff Laura Bafford has been a beneficiary, as defined by ERISA §
 5   3(8), 29 U.S.C. § 1002(7), in the Northrop Plan. The Baffords reside in Ogden,
 6   Utah.
 7           7.   Defendant Northrop is a Delaware corporation with its principal
 8   place of business in Falls Church, Virginia. Northrop is a fiduciary of the
 9   Northrop Plan within the meaning of ERISA § 3(21), 29 U.S.C. § 1002(21), in
10   that it exercises authority or control respecting management or disposition of the
11   Northrop Plan’s assets, it exercises discretionary authority or discretionary
12   control respecting management of the Northrop Plan, and/or it has discretionary
13   authority or discretionary responsibility in the administration of the Northrop
14   Plan. Among other authority, Northrop has the authority to appoint the Northrop
15   Plan’s Plan Administrator and exercises discretion in selecting and monitoring
16   the Plan Administrator and/or other fiduciaries. The sector headquarters for
17   Northrop Grumman Aerospace Systems is located in Redondo Beach, Los
18   Angeles County, California.
19           8.   Defendant Administrative Committee is the Plan Administrator of
20   the Northrop Plan within the meaning of ERISA § 3(16)(a)(i), 29 U.S.C. §
21   1002(16)(a)(i). The Administrative Committee is a named fiduciary of the
22   Northrop Plan by reason of being the Plan Administrator, and is a fiduciary of the
23   Northrop Plan within the meaning of ERISA § 3(21), 29 U.S.C. § 1002(21), in
24   that it exercises authority or control respecting management or disposition of the
25   Northrop Plan’s assets, it exercises discretionary authority or discretionary
26   control respecting management of the Northrop Plan, and/or it has discretionary
27   authority or discretionary responsibility in the administration of the Northrop
28   Plan. The Administrative Committee’s address is in El Segundo, Los Angeles

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 1   County, California.
 2         9.     As the Plan Administrator, the Administrative Committtee is the
 3   entity responsible for providing pension benefit statements to Northrop Plan
 4   participants as required by ERISA § 105(a), 29 U.S.C. § 1025(a), among other
 5   responsibilities.
 6         10.    Defendant Alight is an Illinois limited liability company with its
 7   principal place of business in Illinois. Beginning in 2008, Alight’s predecessor,
 8   Hewitt Associates LLC (“Hewitt”), provided record-keeping and third-party
 9   administration services to the Northrop Plan. Alight maintains an office in Irvine,
10   Orange County, California.
11         11.    Upon information and belief, Northrop and/or the Administrative
12   Committee contracted with Hewitt to carry out certain of the Administrative
13   Committee’s responsibilities for the Northrop Plan, including its pension benefit
14   statement responsibilities under ERISA § 105(a) and its responsibility for
15   processing pension applications.
16                                           FACTS
17                   Mr. Bafford’s Employment and Pension Service
18         12.    Mr. Bafford began his employment with Northrop in April 1987, at
19   age 26, as a Procurement Expeditor. He worked for Northrop in Pico Rivera,
20   California, and Palmdale, California.
21         13.    As a Northrop employee, Plaintiff accrued pension benefits under the
22   Northrop Grumman Retirement Plan, which is a sub-plan of the Northrop Plan.
23         14.    In February 1998, Mr. Bafford terminated employment with
24   Northrop and went to work for TRW Corporation (“TRW”), in Ogden, Utah, as a
25   Subcontract Manager.
26         15.    As a TRW employee, Mr. Bafford accrued pension benefits under
27   the TRW Pension Plan.
28         16.    In December 2002, Northrop acquired TRW, and Mr. Bafford

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 1   became a Northrop employee again.
 2         17.    Northrop renamed the TRW Pension Plan the Northrop Grumman
 3   Space and Mission Systems Salaried Employees Pension Plan (“SMS Plan”). Mr.
 4   Bafford continued to accrue benefits under the SMS Plan as a Northrop
 5   employee.
 6                                  Pertinent Plan Terms
 7         18.    The Northrop Plan is an employee pension benefit plan as defined by
 8   ERISA § 3(2), 29 U.S.C. § 1002(2), sponsored by Defendant Northrop. The
 9   Northrop Plan is a defined benefit pension plan, meaning that each participating
10   employee is entitled to a fixed periodic payment during retirement based on a
11   pension calculation formula set forth in the plan.
12         19.    Prior to July 1, 2003, the Northrop Plan used a final average pay
13   formula to calculate benefits. Under this formula, a participant’s pension was
14   calculated based on factors including his years of benefit service and his average
15   rate of annual salary during his highest three years of salary out of the last ten
16   years that he was a covered employee under the plan. After July 1, 2003,
17   participants who accrued benefits prior to July 1, 2003, continued to be entitled to
18   have those benefits calculated using the final average pay formula. Mr. Bafford’s
19   Northrop Plan benefit is calculated based on the pre-July 1, 2003 benefit formula.
20         20.    Under the Northrop Plan terms applicable to Mr. Bafford, a
21   participant is entitled to a normal retirement benefit commencing at age 65.
22   However, a participant who has attained at least age 55 with at least 10 years of
23   service is entitled to a reduced early retirement benefit, and a participant whose
24   age plus his years of early retirement service equals at least 85 is entitled to an
25   unreduced early retirement benefit – that is, to receive his full age 65 pension
26   before age 65.
27          Mr. Bafford’s Pension Benefit Statements and Pension Election
28         21.    As Mr. Bafford approached age 50 in 2010, he began requesting

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 1   pension benefit statements to assist him and Mrs. Bafford in planning for
 2   retirement.
 3         22.     The statements that Mr. Bafford received indicate that they come
 4   from Northrop. However, upon information and belief, the statements that Mr.
 5   Bafford received were prepared and issued by Hewitt pursuant to its arrangement
 6   with Northrop and/or the Administrative Committee.
 7         23.     In requesting statements, Mr. Bafford tested various scenarios based
 8   on different employment termination dates and benefit commencement dates.
 9   Hewitt’s statements consistently informed Mr. Bafford that if he worked until at
10   least age 55 and elected to receive his benefit in the form of a 100 percent joint-
11   and-survivor annuity, his Northrop Plan benefit would be over $2,000 per month
12   during his lifetime and the same amount for Mrs. Bafford’s lifetime if he
13   predeceased her. Specifically, Hewitt provided the following statements:
14    Statement       Employment       Benefit                        100% JSA
15
      Date            Termination Date Commencement Date              Benefit Amount
      Mar. 2010       Oct. 2015            Nov. 2015                  $2,033.93
16
      Nov. 2011       Sept. 2015           Oct. 2015                  $2,011.90
17
      Feb. 2013       Sept. 2015           Oct. 2015                  $2,007.27
18    Feb. 2013       Sept. 2016           Oct. 2016                  $2,114.41
19    Mar. 2014       Jan. 2017            Feb. 2017                  $2,110.64
20    Oct. 2014       Sept. 2015           Oct. 2015                  $2,077.27
21    Oct. 2014       Sept. 2015           Apr. 2016                  $2,098.02
      Oct. 2014       Mar. 2016            Apr. 2016                  $2,098.02
22
      Aug. 2015       Sept. 2016           Oct. 2016                  $2,114.41
23
      Aug. 2015       Dec. 2016            Jan. 2017                  $2,111.58
24
      Aug. 2015       Apr. 2017            May 2017                   $2,107.58
25    June 2016       Sept. 2016           Oct. 2016                  $2,114.41
26         24.     Concurrently with requesting Northrop Plan statements, Mr. Bafford
27   also requested and received statements of his pension benefit under the SMS plan.
28         25.     In July 2016, Mr. Bafford requested and received materials necessary
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 1   to commence his pension as of October 1, 2016. The materials included a
 2   statement again showing the 100 percent joint-and-survivor benefit amount of
 3   $2,114.41 per month.
 4         26.    After Mr. Bafford submitted his pension paperwork, Hewitt issued
 5   him a “Retirement Plan Pension Election Confirmation Statement” showing that
 6   he had elected the 100 percent joint-and-survivor annuity benefit of $2,114.41 per
 7   month. Mr. Bafford signed and returned the accompanying “Pension Election
 8   Authorization Form,” certifying that he had elected the 100 percent joint-and-
 9   survivor annuity form of benefit. The form states that Mr. Bafford “[c]ertifies that
10   I understand this payment option pays $2,114.41 per month,” and “[c]ertifies that
11   I understand my beneficiary is LAURA A. BAFFORD and will receive upon my
12   death $2,114.41 per month.”
13         27.    On August 11, 2016, Hewitt confirmed that it had received and
14   processed Mr. Bafford’s Pension Election Authorization Form and that his first
15   payment would be made on October 1, 2016.
16         28.    From October 1, 2016, through January 1, 2017, the Northrop Plan
17   made four monthly benefit payments to Mr. Bafford of $2,114.41 each.
18               Defendants’ Recalculation of the Northrop Plan Benefit
19         29.    On December 9, 2016, more than three months after Mr. Bafford’s
20   retirement, Hewitt notified Mr. Bafford that it had recalculated his benefit “based
21   on updated information,” and that his new monthly benefit would be $2,439.53 –
22   that is, $325.12 more than his monthly Northrop Plan benefit. Yet the notice also
23   stated that Mr. Bafford had been overpaid $6,033.97, and that beginning March 1,
24   2017, his benefit would be reduced by 25 percent per month until the
25   overpayment was “fully repaid.”
26         30.    On December 29, 2016, Hewitt issued Mr. Bafford another “Pension
27   Plan Recalculation Notice,” explaining that his monthly Northrop Plan benefit
28   would be permanently reduced from $2,114.41 to $807.89 – a reduction of more

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 1   than 60 percent.
 2         31.    In this notice, Hewitt admitted that there was no “updated
 3   information” that formed the basis of the recalculation. Instead, Hewitt admitted
 4   that it had used “incorrect pay” to generate the $2,114.41 monthly benefit figure.
 5   Hewitt explained that it had based its calculations of Mr. Bafford’s Northrop Plan
 6   benefit on final average salary from his second period of Northrop employment,
 7   when it should have based the calculations on final average salary from his first
 8   period of Northrop employment.
 9         32.    Thus, Hewitt recalculated Mr. Bafford’s pension based on
10   information that had been in Northrop’s possession for nearly 20 years, including
11   throughout the period when Hewitt issued at least a dozen statements showing
12   that Mr. Bafford had earned a pension in excess of $2,000 per month.
13         33.    The current present value of the difference between the promised
14   benefit of $2,114.41 and the reduced benefit of $807.89 over the Baffords’
15   lifetimes is approximately $417,000.
16                                  Plaintiffs’ Reliance
17         34.    In deciding when Mr. Bafford would retire, the Baffords relied on
18   Defendants’ promise of a monthly pension benefit in excess of $2,000 if Mr.
19   Bafford worked until he reached eligibility for early retirement. The Baffords
20   carefully analyzed their sources of retirement income in an effort to ensure that
21   they would have adequate income to support themselves for the remainder of
22   their lives. The consistent promise that the Northrop Plan benefit would be in
23   excess of $2,000 per month was integral to the decision that Mr. Bafford would
24   retire and to other financial decisions that the Baffords made in the years leading
25   up to Mr. Bafford’s retirement. Had the Baffords known that the benefit was $800
26   per month rather than $2,000 per month, Mr. Bafford would not have elected to
27   retire at age 56.
28         35.    Until Hewitt’s belated admission of its longstanding error, the

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 1   Baffords did not know, and had no reason to know, that Hewitt was
 2   miscalculating Mr. Bafford’s Northrop Plan benefit.
 3                               FIRST CLAIM FOR RELIEF
 4            Claim for Violation of ERISA § 404(a), 29 U.S.C. § 1104(a),
              Against Defendants Northrop and Administrative Committee
 5

 6         36.       Plaintiffs incorporate Paragraphs 1 through 35 as though fully set
 7   forth herein.
 8         37.       ERISA § 404(a), 29 U.S.C. § 1104(a), requires that a fiduciary
 9   discharge its duties with respect to a plan solely in the interest of the participants
10   and beneficiaries and for the exclusive purpose of providing benefits to
11   participants and their beneficiaries and defraying reasonable expenses of
12   administering the plan. These duties include the duty to provide complete and
13   accurate information regarding participants’ benefits.
14         38.       Northrop and the Administrative Committee breached their fiduciary
15   duties to Plaintiffs by acts and omissions including failing to ensure that they or
16   their delegees provided Plaintiffs with complete and accurate information
17   regarding the amount of the Northrop Plan benefit.
18         39.       Plaintiffs reasonably relied on the pension information they received
19   in planning for their retirement.
20         40.       Plaintiffs have been harmed by Northrop’s and the Administrative
21   Committee’s breaches in that their retirement income and savings are
22   substantially less than they would have been had Plaintiffs received accurate
23   information about the Northrop Plan benefit.
24                             SECOND CLAIM FOR RELIEF
25            Claim for Violation of ERISA § 404(a), 29 U.S.C. § 1104(a),
                               Against Defendant Alight
26

27         41.       Plaintiffs incorporate Paragraphs 1 through 35 as though fully set
28   forth herein.

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 1          42.       ERISA § 404(a), 29 U.S.C. § 1104(a), requires that a fiduciary
 2    discharge its duties with respect to a plan solely in the interest of the participants
 3    and beneficiaries and for the exclusive purpose of providing benefits to
 4    participants and their beneficiaries and defraying reasonable expenses of
 5    administering the plan. These duties include the duty to provide complete and
 6    accurate information regarding participants’ benefits.
 7          43.       At all relevant times, Alight’s predecessor Hewitt was a fiduciary of
 8    the Northrop Plan within the meaning of ERISA § 3(21), 29 U.S.C. § 1002(21), in
 9    that it exercised discretionary authority or discretionary control respecting
10    management of the Northrop Plan, and/or it had discretionary authority or
11    discretionary responsibility in the administration of the Northrop Plan. In
12    particular, Hewitt prepared summaries of the Northrop Plan provisions –
13    sometimes referred to as “requirements documents.” Upon information and belief,
14    Hewitt performed its pension calculations and other services according to these
15    summaries, rather than according to the Northrop Plan documents.
16          44.       Hewitt breached its fiduciary duty to Plaintiffs by acts and omissions
17    including repeatedly providing Mr. Bafford with inaccurate information regarding
18    the amount of his pension.
19          45.       Plaintiffs reasonably relied on the pension information they received
20    in planning for their retirement.
21          46.       Plaintiffs have been harmed by Hewitt’s breaches in that their
22    retirement income and savings are substantially less than they would have been
23    had they received accurate information about the Northrop Plan benefit.
24                                THIRD CLAIM FOR RELIEF
25                Claim for Violation of ERISA § 105, 29 U.S.C. § 1025,
                      Against Defendant Administrative Committee
26

27          47.       Plaintiffs incorporate Paragraphs 1 through 35 as though fully set
28    forth herein.

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 1          48.    ERISA § 105(a)(1)(B), 29 U.S.C. § 1025(a)(1)(B), requires that a
 2    plan administrator furnish pension benefit statements to defined benefit plan
 3    participants. Specifically, a plan administrator must furnish a pension benefit
 4    statement (1) at least once every three years to each participant with a
 5    nonforfeitable accrued benefit and who is employed by the employer maintaining
 6    the plan at the time the statement is to be furnished, and (2) to a participant or
 7    beneficiary of the plan upon written request.
 8          49.    ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a plan
 9    participant to file suit to obtain injunctive and other appropriate equitable relief
10    from a violation of ERISA.
11          50.    ERISA § 502(a)(1)(A), 29 U.S.C. § 1132(a)(1)(A), authorizes a plan
12    participant to bring a civil action for the relief provided for in ERISA § 502(c), 29
13    U.S.C. § 1132(c).
14          51.    ERISA § 502(c)(1)(A), 29 U.S.C. § 1132(c)(1)(A), provides that any
15    administrator who fails to meet the requirements of ERISA § 105(a), 29 U.S.C. §
16    1025(a), with respect to a participant may in the court’s discretion be personally
17    liable to such participant in the amount of up to $100 a day from the date of such
18    failure, and the court may in its discretion order such other relief as it deems
19    proper. For this purpose, each violation with respect to any single participant
20    shall be treated as a separate violation. 29 C.F.R. § 2575.502c-1 increases the
21    penalty under ERISA § 502(c) to $110 per day.
22          52.    The Administrative Committee violated Section 105(a) by failing to
23    provide Mr. Bafford with accurate statements of his Northrop Plan benefit and/or
24    by failing to monitor the performance of its delegate that provided pension
25    statements to Mr. Bafford. For at least six years prior to his retirement, Mr.
26    Bafford never received an accurate statement of his Northrop Plan Benefit.
27          53.    Plaintiffs were harmed by the Administrative Committee’s violations
28    in that they relied on the erroneous statements in making retirement and financial

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 1    planning decisions.
 2                               FOURTH CLAIM FOR RELIEF
 3                   In the Alternative to the Second Claim for Relief
               Claim for Professional Negligence Against Defendant Alight
 4

 5          54.       Plaintiff incorporates Paragraphs 1 through 35 as though fully set
 6    forth herein.
 7          55.       A third-party administrator performing professional services owes a
 8    duty of care to the intended beneficiaries of the professional services rendered,
 9    including, without limitation, (1) the duty to have that degree of learning and skill
10    ordinarily possessed by a reputable third-party administrator practicing in the
11    same or similar locality under similar circumstances; (2) the duty to use the care
12    and skill ordinarily exercised in like cases by reputable members of the profession
13    practicing in the same or similar locality in similar circumstances; and (3) the
14    duty to use reasonable diligence and his or her best judgment in the exercise of
15    skill and the application of learning. A failure to perform any one of these duties
16    constitutes negligence.
17          56.       A third-party administrator that holds itself out as a specialist in a
18    particular field, such as the calculation of benefits under a pension plan, has the
19    duty (1) to have the knowledge and skill ordinarily possessed, and (2) to use the
20    care and skill ordinarily used, by a reputable specialist practicing in the same field
21    and in the same or similar locality and under similar circumstances. A failure to
22    fulfill either duty constitutes negligence.
23          57.       Thus, a third-party administrator providing services to an employee
24    benefit plan has a duty to exercise such care, skill, and diligence as other
25    members of the profession commonly possess and exercise in the course of the
26    provision of services to or for an employee pension benefit plan.
27          58.       Hewitt breached its professional duties by providing grossly
28    inaccurate information to Plaintiffs regarding the amount of Mr. Bafford’s benefit

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 1    under the Northrop Plan on numerous occasions over at least a six-year period,
 2    and by related acts and omissions.
 3           59.      As a consequence of Hewitt’s professional negligence, Plaintiffs
 4    have been injured in that they relied upon the inaccurate information in planning
 5    for their retirement, and have suffered losses as a result.
 6                                FIFTH CLAIM FOR RELIEF
 7                   In the Alternative to the Second Claim for Relief
             Claim for Negligent Misrepresentation Against Defendant Alight
 8

 9           60.      Plaintiffs incorporate Paragraphs 1 through 35 as though fully set
10    forth herein.
11           61.      Hewitt misrepresented to Plaintiffs the amount of Mr. Bafford’s
12    benefit under the Northrop Plan.
13           62.      Hewitt had no reasonable ground for believing that its statements
14    regarding the amount of Mr. Bafford’s benefit were true.
15           63.      Hewitt had a duty to Plaintiffs to exercise reasonable care in
16    providing them with statements of Mr. Bafford’s pension benefit.
17           64.      Hewitt intended that Plaintiffs act in reliance on its statements of Mr.
18    Bafford’s pension benefit for purposes of financial planning, including because
19    there is no purpose for a pension benefit statement other than to assess the value
20    of the pension benefit.
21           65.      Plaintiffs justifiably relied on Hewitt’s pension statements in
22    planning for their retirement.
23           66.      Plaintiffs have been injured as a result of their justifiable reliance on
24    the inaccurate information in planning for retirement, and have suffered losses as
25    a result.
26                                    PRAYER FOR RELIEF
27           WHEREFORE, Plaintiffs prays that the Court grant the following relief:
28    As to the First Claim for Relief:

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 1          A.    Declare that Defendants Northrop and Administrative Committee
 2                have breached their fiduciary duties to Plaintiffs;
 3          B.    Order that Defendants Northrop and Administrative Committee are
 4                estopped to deny that Plaintiffs are entitled to benefits under the
 5                Northrop Plan consistent with the statements provided to Mr.
 6                Bafford prior to December 2016;
 7          C.    Surcharge Defendants Northrop and Administrative Committee in
 8                the amount necessary to place Plaintiffs in the position they would
 9                have occupied but for Defendants’ breaches;
10          D.    Award Plaintiffs reasonable attorneys’ fees and costs of suit incurred
11                herein pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g); and
12          E.    Provide such other equitable relief as the Court deems appropriate.
13    As to the Second Claim for Relief:
14          A.    Declare that Defendant Alight has breached its fiduciary duties to
15                Plaintiffs;
16          B.    Surcharge Defendant Alight in the amount necessary to place
17                Plaintiffs in the position they would have occupied but for
18                Defendant’s breaches;
19          C.    Award Plaintiffs reasonable attorneys’ fees and costs of suit incurred
20                herein pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g); and
21          D.    Provide such other equitable relief as the Court deems appropriate.
22    As to the Third Claim for Relief:
23          A.    Declare that Defendant Administrative Committee violated ERISA §
24                105, 29 U.S.C. § 1025;
25          B.    Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), order that
26                Defendant Administrative Committee is estopped to deny that
27                Plaintiffs are entitled to benefits under the Northrop Plan consistent
28                with the statements provided to Mr. Bafford prior to December 2016;

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 1          C.     Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), award such
 2                 other equitable relief as the Court deems appropriate;
 3          D.     Pursuant to ERISA § 502(c), 29 U.S.C. § 502(c), find the Plan
 4                 Administrators personally liable to Plaintiffs in the amount of $110 a
 5                 day from the date of each separate failure to meet the requirements of
 6                 ERISA § 105(a), 29 U.S.C. § 1025(a);
 7          E.     Pursuant to ERISA § 502(c), 29 U.S.C. § 502(c), order such other
 8                 relief as the Court deems proper;
 9          F.     Award Plaintiff reasonable attorneys’ fees and costs of suit incurred
10                 herein pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g); and
11          G.     Provide such other relief as the Court deems equitable and just.
12    As to the Fourth Claim for Relief:
13          A.     Order that Alight pay Plaintiffs damages for the harm they have
14                 suffered as a consequence of Hewitt’s professional negligence; and
15          B.     Provide such other relief as the Court deems equitable and just.
16    As to the Fifth Claim for Relief:
17          A.     Order that Alight pay Plaintiffs damages for the harm they have
18                 suffered as a consequence of Hewitt’s negligent misrepresentations;
19                 and
20          B.     Provide such other relief as the Court deems equitable and just.
21                             DEMAND FOR JURY TRIAL
22          Plaintiffs demand a jury trial as to their claims brought under state law.
23                                           Respectfully submitted,
24    Dated: December 7, 2018                RENAKER HASSELMAN SCOTT LLP
25                                    By:    /s/ Teresa S. Renaker
26                                           Teresa S. Renaker
                                             Attorneys for Plaintiffs
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      COMPLAINT                                                                    PAGE 15
